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February 25, 2022
VIA ECF

Hon. Magistrate Judge Edward S. Kiel
United States District Court
District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07101

Re:     Securities and Exchange Commission v. RRBB Asset Management, LLC, and
        Carl S. Schwartz, Case No. 2:20-cv-12523-KM-ESK

Hon. Hon. Magistrate Judge Kiel:

We represent defendant Carl S. Schwartz in the above-referenced matter, and write jointly with
RRBB Asset Management, LLC (“RRBBAM”) (together “Defendants”) pursuant to Your Honor’s
Civil Case Management Order Rule 7 and Local Rules 16.1 and 37.1, to identify a discovery
dispute related to a subpoena the SEC issued to TD Ameritrade on January 3, 2022 (the “TD
Subpoena”). Defendants respectfully request a conference, or, in the alternative, Defendants
request leave to file a motion for a protective order under Rule 26. The Plaintiff Securities and
Exchange Commission (“SEC”) opposes Defendants’ request, and its position is set forth in
Section IV of this letter.

I.      The TD Subpoena

The SEC issued a Subpoena to TD Ameritrade on January 3, 2022 (the “TD Subpoena”). On or
about January 21, 2022, TD produced documents to the SEC. The SEC did not provide notice to
Defendants that it had issued the TD Subpoena, or provide copies of the documents produced, until
February 7, 2022.1 At that time, Mr. Schwartz’s deposition was scheduled for February 10, 2022,
and the SEC indicated that it intended to use those documents at his deposition. Defendants
objected to the late notice under Rule 45(a)(4) and the parties rescheduled Mr. Schwartz’s
deposition to March 3, 2022. The parties subsequently requested, and the Court granted, an
extension of fact discovery to March 4, 2022. (ECF 48.)

1
 In Defendants’ First Request for the Production of Documents to the SEC, Defendants requested that the SEC
produce “all documents and communications concerning or relating to Defendants.” (Defs’ First Requests for the
Production of Documents No. 13.)
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II.    Defendants Request, the SEC’s Response, and Efforts to Resolve the Dispute

On February 14, 2022, Defendants sent the SEC a letter identifying their objections to the TD
Subpoena. (Ex. A.) The Defendants objected to the SEC’s failure to comply with Rule 45(a)(4).
The Defendants objected to the TD Subpoena because: (1) it sought information outside the time
period of the events alleged in the Complaint; and (2) sought information as to accounts other than
those referenced in the Complaint and sought the personal records of Defendants. Defendants
requested that the SEC stipulate to exclude the documents received as a result of the TD Subpoena
and any testimony predicated on those documents.

On February 14, 2022, the parties had a meet and confer. During the meet and confer and in a
subsequent email, the SEC agreed that it would not use the personal trading records of Defendants,
but would not agree to exclude any other documents. (Ex. B.)

III.   Defendants’ Position

Discovery is not “unlimited” and a third-party subpoena is subject to the relevancy limitations in
Rule 26. See, e.g., Costantino v. City of Atl. City, No. 13 Civ. 6667 (RBK) (JS), 2015 WL
12806490, at *2 (D.N.J. Nov. 4, 2015). Under Rule 26, “[p]arties may obtain discovery regarding
any nonprivileged matter that is relevant to any party’s claim or defense and proportional to the
needs of the case.” Fed. R. Civ. P. 26(b)(1). Indeed, “while the standard of relevancy is a liberal
one, it is not so liberal as to allow a party to roam in shadow zones of relevancy and to explore
matter which does not appear germane merely on the theory that it might become so.” Costantino,
2015 WL 12806490, at *2 (quoting Claude P. Bamberger Int’l, Inc. v. Rohm & Haas Co., No. 96
Civ. 1041 (WGB), 1998 WL 684263, at *2 (D.N.J. April 1, 1998)). A court may issue a protective
order against a subpoena that requests irrelevant information because, among others, “any effort”
a party “expends on [] irrelevant records is undue.” See id. at *3.

The TD Subpoena requested, and the SEC received, irrelevant documents for the following two
reasons:

Documents Outside the Time Frame of the Complaint. The TD Subpoena requested documents
throughout a “Relevant Period” that the SEC defines as the “beginning of January 1, 2017, to
present.” (Ex. C, TD Subpoena at Documents to be Produced ¶ 1; id. at Definitions ¶ 5.) Yet the
SEC’s Complaint alleges causes of action against Defendants based on alleged trading occurring
between August 2016 and April 2017. (Compl. ¶¶ 1, 29.) Thus, the documents sought outside
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that time are irrelevant to the claims and defenses in this case as framed by the SEC’s own
pleadings.

The SEC claims that the documents outside the time frame of the Complaint are potentially
relevant to rebut Defendants’ explanations as to the trading. As explained in Defendants’ motion
to dismiss, certain clients may prefer long-term or short-term securities trading based on their
individualized objectives, risk tolerance, time horizon, financial horizon, financial information,
liquidity needs, and other various suitability factors. (ECF 12-1 at 5.) While this strategy includes
long-term securities trading, the ultimate result of the trading is not relevant—what is relevant is
the decision and individualized considerations at the time of the trading. (See ECF 12-1 at 2
(“Based on Defendants’ assessment of a security’s present value and expected future value, they
assign the security to the portfolio of a client with compatible investment objectives and risk
tolerance.”).) Thus, the results of the trading after the time frame of the allegations in the
Complaint are not relevant.2

Documents Other Than Those Accounts Referenced in the Complaint. The TD Subpoena
requested “all trades” “for each personal, proprietary, or client account controlled by” Defendants.
(Ex. C, TD Subpoena at Documents to be Produced ¶ 1.) The SEC’s Complaint alleges causes of
action based on alleged trading in a “Favored Account” and certain “Disfavored Accounts.”
(Compl. ¶ 30.) We understand the SEC’s reference to “Favored Account” to refer to an account
or accounts held by Robert and Diane Butters. We understand the SEC’s reference to “Disfavored
Accounts” to refer to accounts held, benefitting, or operated by Greta Roesch and Jane Tang. Yet
the TD Subpoena sought all trades for accounts other than Butters, Roesch, and Tang, including
the personal accounts of Defendants. Thus, the documents received as to any account other than
Butters, Roesch, and Tang are irrelevant to the claims and defenses in this case.

The SEC claims that accounts other than the alleged Favored Account (Butters) and the alleged
Disfavored Accounts are relevant because Defendants allegedly “allocate[ed] less favorable trades

2
  The SEC’s argument below misses the point. Whether Defendants “replicated” the trading patterns after April
2017 at TD has no bearing on the choices made for clients between August 2016 and April 2017 (the time frame of
the Complaint). The innocent and truthful explanation that Defendants made trading choices for certain clients at
one point in time are not proven or disproven by trading choices made later at a different point in time under
different circumstances. As explained, the choices for each client are made on an individualized basis at a moment
in time based on expectations of what might happen in the future and the client’s current and expected needs.
Choices made later in different circumstances are simply not relevant to the SEC’s allegations. As a result, trading
records outside of the time frame pleaded in the complaint do not tend to prove or disprove any fact at issue. See
Fed. R. Civ. P. 26(b)(1).
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to RRBB’s other clients.” But that is not what the Complaint alleges. The Complaint alleges that
Defendants were disproportionately allocating unfavorable trades to “a small group of RRBB’s
largest clients” and defines them as the “Disfavored Accounts.” Compl. ¶ 30. The Complaint then
identifies six disfavored accounts, associated with just two persons. Id. ¶¶ 46-48. Those two
persons are Greta Roesch and Jane Tang. In response to Defendants’ First Set of Interrogatories
requesting that the SEC identify the Disfavored Accounts, the SEC produced and incorporated an
Excel spreadsheet that identified the “Disfavored” accounts as six accounts associated with Greta
Roesch and Jane Tang.3 (Exhibit D at Response to 4 (the spreadsheet referenced contains sensitive
financial information of nonparties and is therefore not being filed on the docket, but is available
to the Court at its request.) The SEC should not be permitted to change its strategy at the 11th
hour, disregard its own allegations in the Complaint and its own discovery responses so that it can
speculate, and engage in a fishing expedition to unfairly expand the litigation to the prejudice of
defendants. See Schmulovich v. 1161 Rt. 9 LLC, No. 07 Civ. 597 (FLW) 2008 WL 4572537, at *5
(D.N.J. Oct. 14, 2008) (finding information sought irrelevant where “Plaintiffs have asserted no
allegations regarding them in this litigation.”); Costantino, 2015 WL 12806490, at *2 (speculation
and “fishing expedition” improper).

As a result of these infirmities, TD Subpoena is improper and the documents received should be
excluded from evidence. Indeed, it is questionable that the SEC even believed these records were
relevant because it did not issue this subpoena until after the December extension of fact discovery,
which was only obtained due to the sudden and unexpected loss of a close family member of
RRBBAM’s counsel. During our discussion regarding that extension, we discussed and agreed
that the only remaining discovery during the extension would be the depositions of Mr. Schwartz
and a Schwab representative. As a result, absent that extension, the SEC would not have even
been in position to seek or obtain these documents. 4

3
  The SEC references just one paragraph from the Complaint, paragraph 56. But that paragraph states Defendants
“allocated favorable trades to RRBB other accounts.” (Compl. ¶ 56.) Nowhere in the Complaint, however, does the
SEC state that there was a favorable account other than the single alleged Favored Accounts held by one couple. To
the contrary, the Complaint alleges that the Defendants disproportionately allocated trades to “accounts held by a
new client, a high net-worth couple.” (Compl. ¶ 30.) That one “high net-worth couple” was Robert and Dianne
Butters.
4
  Below, the SEC wrongly contends that Defendants lack standing to object to the TD Subpoena. First, the SEC’s
argument is inapposite because Defendants request leave to file a motion for a protective order under Rule 26—not
to quash the subpoena under Rule 45. As even the cases the SEC cites acknowledge, it is well-established that a
party has standing to seek a protective order under Rule 26 “regarding subpoenas issued to non-parties which seek
irrelevant information.” Aetrex Worldwide, Inc. v. Burten Distrib., Inc., No. 13 Civ. 1140 (SRC), 2014 WL
7073466, at *4 (D.N.J. Dec. 15, 2014); Costantino, 2015 WL 12806490, at *3 (“The Court rejects Wheaten’s
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IV.      The SEC’s Position

       The SEC inadvertently failed to serve Defendants with a copy of the subpoena issued to
TD Ameritrade at the time it was issued, as required by Rule 45 of the Federal Rules of Civil
Procedure, but any possible prejudice to Defendants was cured: first, by the SEC’s production of
TD Ameritrade’s documents shortly after they were processed through the SEC’s central
processing unit (“CPU”) in Washington, D.C., which is responsible for the processing of all
incoming document productions; and second, by the SEC’s agreement to continue the deposition
of defendant Carl Schwartz, from February 10, 2022, to March 3, 2022, so as to allow whatever
time Defendants’ counsel needed to review the TD Ameritrade production.

        It is also unfair for Defendants’ counsel to suggest that the SEC took advantage of the
repeated extensions of the scheduled date for the close of fact discovery to subpoena TD
Ameritrade. Fact discovery in this case was originally set to close on August 27, 2021. Dkt. No.
18. Prior to the current discovery dispute, Defendants repeatedly requested extensions of the close
of fact discovery, to which the SEC did not object. Dkt. No. 27, 36, 42, 44. None of those
extensions prevented the SEC from conducting discovery.

        With respect to the SEC’s subpoena to TD Ameritrade, Rule 45(d)(3) provides that on a
timely motion, the court for the district where compliance is required must quash or modify a
subpoena that: (i) fails to allow a reasonable time to comply; (ii) requires a person to comply
beyond the geographical limits specified in Rule 45(c); (iii) requires disclosure of privileged or
other protected matter, if no exception or waiver applies; or (iv) subjects a person to undue burden.



standing argument. The Court does not accept the notion that a party can subpoena irrelevant documents in a case
with impunity” and holding that a party can “move for a protective order in regard to a subpoena issued to a non-
party which seeks irrelevant information”); Gov’t Emps. Ins. Co. v. Trnovski, No. 16 Civ. 4662 (CCC), 2018 WL
5281424, at *3 (D.N.J. Oct. 23, 2018) (“Although the Court finds that the Alliance Defendants lack standing to
quash the Subpoenas, the Court will nevertheless address whether the information that Plaintiffs seek is relevant
under Rule 26.”). Second, as even the cases cited by the SEC acknowledge, Mr. Schwartz has standing under Rule
45 because the SEC requested, and received, the “personal” accounts of Mr. Schwartz. Corbi v. Marina Assocs.,
No. 08 Civ. 5875 (RBK) (JS), 2009 WL 10727983, at *1 (D.N.J. July 14, 2009) (“Since defendant is claiming that
the requested records are confidential or private, it has standing to object to plaintiffs’ subpoena.”); Schmulovich v.
1161 Rt. 9 LLC, 2007 WL 2362598, at *2 (D.N.J. Aug. 15, 2007) (“Defendants assert a personal privilege with
respect to their bank account records. Therefore, the Court finds that Defendants have proper standing to move to
Quash subpoenas on their bank accounts.”).
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        Defendants do not address, much less make a showing as to the applicability of any of these
factors. Generally, a motion to quash or modify a subpoena must be brought by the individual to
whom it was directed. Gov’t Emples. Ins. Co. v. Trnovski, No. 16-4662 (CCC), 2018 U.S. Dist.
LEXIS 182375, at * 7 (D.N.J. Oct. 23, 2018). However, “a party has standing to bring a Motion
to Quash or modify a subpoena upon a nonparty when the party claims a personal privilege in the
production sought.” Id.,quoting Schmulovich v. 1161 R. LLC, 2007 U.S. Dist. LEXIS 59705, 2007
WL 2362598 (D.M.J. Aug. 15, 2007); see also Langford v. Chrysler Motors Corp., 513 F.2d 1121,
1126 (2d Cir 1975) (“In the absence of a claim of privilege a party usually does not have standing
to object to a subpoena directed to a non-party witness.”). In this regard, “[a] party lacks standing
to challenge subpoenas issued to non-parties on the grounds of relevancy or undue burden.
Trnovski, 2018 U.S. Dist. LEXIS 182375, at *7 (quoting Univesitas Educ., LLC v. Nova Group,
Inc., 2013 U.S. Dist. LEXIS 1720, 2013 WL 57892 (S.D.N.Y. Jan. 4, 2013)).

        TD Ameritrade did not move to quash the subpoena, and Defendants assert no claim of
privilege in the documents produced. That should be the end of the matter, and any arguments
Defendants may have regarding the relevancy of the TD Ameritrade records should left either to
motions in limine practice prior to trial, or to their making specific objections to whatever exhibits
the SEC may list in its pretrial exhibit list.

        In any event, in support of their relevancy objection, Defendants mischaracterize the scope
of the SEC’s complaint and leave out important facts that demonstrate the relevancy of the SEC’s
subpoena to TD Ameritrade. The SEC’s complaint alleges that Defendants engaged in a fraudulent
trade allocation practice, commonly called “cherry picking”, in breach of their fiduciary duties to
their advisory clients. The SEC’s statistical analysis shows that Schwartz disproportionately
allocated profitable trades to accounts held by a new, high net-worth couple, who was one of
RRBB’s largest and most lucrative clients in terms of assets under management, while allocating
less favorable trades to RRBB’s other clients, and primarily to handful of long-term client
accounts. Contrary to Defendants’ assertion that this case only has to do with three client
accounts, the SEC’s statistical analysis is based on an analysis of their trading allocation practices
with respect to all of RRBB’s clients, on whose behalf Defendants traded in an omnibus trading
account held by RRBB at Schwab. And while the primary focus of the SEC’s complaint is on the
period from August 2016 to April 2017, when Defendants sought to benefit their new, high net
worth client, the complaint further alleges that Defendants allocated a disproportionate share of
unfavorable trades to accounts held by two elderly widows from approximately January 1, 2015
through August 11, 2016. Dkt. No. 1, ¶ 56.
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       The complaint further alleges that Defendants were kicked off Schwab’s platform in April
2017, due to concerns about Schwart’s use of RRBB’s omnibus trading account, and Schwartz
was told by a Schwab representative that it appeared he was engaging in cherry picking. Id., ¶ 56.

         During the SEC’s pre-filing investigation of this case, Schwartz offered a variety of
innocent explanations to explain his trading allocation practices, none of which had to do with his
ability to exploit RRBB’s omnibus trading account at Schwab to engage in cherry-picking. Once
Schwab terminated RRBB, Defendants transferred their trading accounts to TD Ameritrade, where
they were not able to use an omnibus trading account. Accordingly, the purpose of the SEC’s
subpoena to TD Ameritrade is simple and straightforward: were Defendants able to replicate their
positive first day returns to the favored accounts, and negative returns to the disfavored accounts,
consistent with their innocent explanations for their trading patterns on the Schwab platform, or
whether that disparate performance was due to cherry picking. That inquiry is indisputably
relevant. In addition, as with the SEC’s statistical analysis of RRBB’s trading at Schwab, its
statistical analysis of RRBB’s trading patterns at TD Ameritrade requires an analysis of all of
RRBB’s client accounts, not just the three accounts that Defendants’ contend are the only ones at
issue.

       For all the foregoing reasons, the SEC respectfully submits that Defendants’ discovery
dispute can be dispensed with on the basis of this letter.


         *              *              *               *              *             *
In light of these disputes, Defendants respectfully request a conference with Your Honor, or in the
alternative, Defendants request leave to file a motion for a protective order under Rule 26. In the
event the Court denies leave, Defendants respectfully request a two-week extension to the current
expert discovery and dispositive motion schedule (ECF 44) to allow Defendants time to consult
with their expert regarding the information produced by TD.

Respectfully submitted,

/s/ Marc A. Silverman
Marc A. Silverman

cc:    All Counsel of Record via ECF
